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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  ANGEL DE JESUS ZEPEDA RIVAS, et                    Case No. 20-cv-02731-VC
  al.,
                 Plaintiffs,                         ORDER RE PRELIMINARY
                                                     INJUNCTION SCHEDULE
           v.
                                                     Re: Dkt. No. 81
  DAVID JENNINGS, et al.,
                 Defendants.



        The schedule for adjudicating the preliminary injunction motion (and the defendants’

concurrent request to dissolve the TRO), is extended by 7 days. The plaintiffs’ motion for a

preliminary injunction is due by Friday, May 22, at 5:00 p.m. The defendants’ opposition to the

motion, along with any motion to stay or dissolve the TRO, is due by Wednesday, May 27, at

5:00 p.m. The plaintiffs’ reply in support of the motion for a preliminary injunction, together

with opposition papers to any motion by the defendants to stay or dissolve the TRO, is due by

Friday, May 29. The hearing on the motion for a preliminary injunction is set for Tuesday, June
2, at 10:00 a.m. No further extensions will be granted without the consent of both sides.

        As an alternative, the court will entertain a stipulated schedule that delays the preliminary

injunction proceedings further but allows the defendants to move to dissolve the injunction

whenever they wish. Absent such a stipulation, the schedule in the preceding paragraph will

hold.

        IT IS SO ORDERED.

Dated: May 12, 2020
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
